           Case 2:16-cv-01145-JRG Document 18 Filed 01/26/17 Page 1 of 1 PageID #: 92
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court            Eastern District of Texas Marshall Division                       on the following
      G Trademarks or         G
                              ✔ Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
       2:16-cv-1145                        10/13/2016                               Eastern District of Texas Marshall Division
PLAINTIFF                                                                    DEFENDANT
 EPT RECORDS LLC, a Texas Limited-Liability Company                            BUILDERTREND SOLUTIONS, INC., a Nebraska
                                                                               corporation


        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 8,145,533                                3/27/2012                   EPT RECORDS LLC, a Texas Limited-Liability Company

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE




CLERK                                                        (BY) DEPUTY CLERK                                          DATE
                                                               CH                                                              1/26/17
                                                                                                                                   1/26/17




Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy


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